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                                                                U.S.O.C. Atlanta

                                                                            NOV 0 8 2017
                                                                         JAMES N. HATIEN, Clerk
                                                                         By:~Clerk



                        district court of the United States

                              DISTRICT OF GEORGIA

           Hardee Bey                          §
                        Counterclaimant        §
                                               §
               v.                              §
       STA TE OF GEORGIA                       §   Re: Writ Denying Defendants Motions To
          BRIAN KEMP                               Dismiss and Incorporated Memorandum of
   ATLANTA MUNICIPAL COURT                         Law
        RY AN SHEPARD
        RAINES CARTER
FULTON COUNTY SHERIFF'S OFFICE
      THEODORE JACKSON
 JAMES BULLOCK, BADGE NO. 0884

              COUNTERDEFENDANTS                §

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                                             Writ of Denial

    I. COMES NOW THE COURT TO REVIEW THE MOTIONS entered on the record by

        defendants to dismiss the case and incorporated memorandum oflaw in support.

    2. Some of the defendants have entered motions moving the court to dismiss the above entitled

        action based on code foreign to this court.

    3. The court has considered all arguments entered on the record by the defendants and the rebuttal

        by the counterclaimant.

                                                DETAIL

    4. The following is organized into three sections:

I. Judicial cognizance

II. Findings of facts, Discussion and Conclusion of Law

III. Impeachment and Writ

                                        I. Judicial Cognizance

    5. This court takes judicial cognizance of and decrees the following:

    6. mDICIAL COGNIZANCE: Judicial notice, or knowledge upon which a judge is bound to act

        without having it proved in evidence. [Black's Law Dictionary, 5• Edition, page 760.]

    7. The people of Georgia do not waive their sovereignty to the agencies that serve them being the

        sovereigns who ordained and established the Constitution for the Georgia state.'




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 8. Two distinguishing and critical characteristics of a court ofrecord are; A judicial tribunal

     having attributes and exercising functions independently of the person of the magistrate

     designated generally to hold it, AND Proceeding according to the course of common law.

 9. The United States shall guarantee to every State in this Union a Republican Form of

     Government, .. .'

 10.... at the Revolution, the sovereignty devolved on the people; and they are truly the sovereigns

     of the country, but they are sovereigns without subjects ...with none to govern but

     themselves ..... [CHISHOLM v. GEORGIA (US) 2 Dall 419, 454, 1LEd440, 455 @DALL

     (1793) pp471-472.]

 11. The very meaning of'sovereignty' is that the decree of the sovereign makes law. [American

     Banana Co. v. United Fruit Co., 29 S.Ct. 511, 513, 213 U.S. 347, 53 L.Ed. 826, 19 Ann.Cas.

     1047.]

 12. The people of this State, as the successors of its former sovereign, are entitled to all the rights

     which formerly belonged to the King by his prerogative. [Lansing v. Smith, 4 Wend. 9 (N.Y.)

     (1829), 21 Am.Dec. 89 lOC Const. Law Sec. 298; 18 C Em.Dom. Sec. 3, 228; 37 C Nav.Wat.

     Sec. 219; Nuls Sec. 167; 48 C Wharves Sec. 3, 7.]

 13. A consequence of this prerogative is the legal ubiquity of the king. His majesty in the eye of

     the law is always present in all his courts, though he cannot personally distribute justice.

     (Fortesc.c.8. 2Inst.186) His judges are the mirror by which the king's image is reflected. 1



........We the people of the Georgia, relying upon the protection and guidance of Almighty God, do ordain and establish
this Constitution. - Georgia Constitution Preamble

Constitution for the United States of America - Article IV Section 4.


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   Blackstone's Commentaries, 270, Chapter 7, Section 379.

14. The state cannot diminish rights of the people. [Hertado v. California, 100 US 516.]

15. The assertion of federal rights, when plainly and reasonably made, is not to be defeated under

   the name oflocal practice. [Davis v. Wechsler, 263 US 22, 24.]

16. Where rights secured by the Constitution are involved, there can be no rule making or

   legislation which would abrogate them. [Miranda v. Arizona, 384 US 436, 491.]

17. There can be no sanction or penalty imposed upon one because of this exercise of

   constitutional rights. [Sherar v. Cullen, 481, F 946.]

18. Republican government One in which the powers of sovereignty are vested in the people and

   are exercised by the people, either directly, or through representatives chosen by the people, to

   whom those powers are specially delegated. [In re Duncan, 139 U.S. 449, 11 S.Ct. 573, 35

   L.Ed. 219; Minor v. Happersett, 88 U.S. (21 Wall.) 162, 22 L.Ed. 627." Black's Law

   Dictionary, Fifth Edition, p. 626.]

19. This Constitution, and the Laws of the United States which shall be made in Pursuance thereof;

   and all Treaties made, or which shall be made, under the Authority of the United States, shall

   be the supreme Law of the Land; and the Judges in every State shall be bound thereby; any

   Thing in the Constitution or Laws of any State to the Contrary notwithstanding. [Constitution

   for the United States of America, Article VI, Clause 2.]

20. COURT. The person and suit of the sovereign; the place where the sovereign sojourns with his

   regal retinue, wherever that may be. [Black's Law Dictionary, 5th Edition, page 318.]




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21. COURT. An agency of the sovereign created by it directly or indirectly under its authority,

   consisting of one or more officers, established and maintained for the purpose of hearing and

   determining issues oflaw and fact regarding legal rights and alleged violations thereof, and of

   applying the sanctions of the law, authorized to exercise its powers in the course oflaw at

   times and places previously determined by lawful authority. [Isbill v. Stovall, Tex.Civ.App.,

   92 S.W.2d 1067, 1070; Black's Law Dictionary, 4th Edition, page 425]

22. Pursuant to the NRS 1.020 the Municipal Court, District Court is required to be a court of
   record. See: NRS 1.020 NRS. 1.020 Courts of record. The following courts are courts of
   record:
   1.     The Supreme Court;
   2.     The Court of Appeals;
   3.     The district courts;
   4.     The Justice courts; and
   5.     The municipal courts:
        (a) In any case in which a jury trial is required; or
        (b) If so designated pursuant to NRS 5.010.
23. COURT OF RECORD. To be a court ofrecord a court must have four characteristics, and

   may have a fifth. They are:

    A. A judicial tribunal having attributes and exercising functions independently of the person

    of the magistrate designated generally to hold it [Jones v. Jones, 188 Mo.App. 220, 175 S.W.

    227, 229; Ex parte Gladhill, 8 Mete. Mass., 171, per Shaw, C.J. See, also, Ledwith v.

    Rosalsky, 244 N.Y. 406, 155 N.E. 688, 689][Black's Law Dictionary, 4th Ed., 425, 426]




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B. Proceeding according to the course of common law [Jones v. Jones, 188 Mo.App. 220, 175

S.W. 227, 229; Ex parte Gladhill, 8 Mete. Mass., 171, per Shaw, C.J. See, also, Ledwith v.

Rosalsky, 244 N.Y. 406, 155 N.E. 688, 689][Black's Law Dictionary, 4th Ed., 425, 426]

C. Its acts and judicial proceedings are enrolled, or recorded, for a perpetual memory and

testimony. (3 BL Comm. 24; 3 Steph. Comm. 383; The Thomas Fletcher, C.C.Ga., 24 F. 481;

Ex parte Thistleton, 52 Cal 225; Erwin v. U.S., D.C.Ga., 37 F. 488, 2 L.R.A. 229; Heininger v.

Davis, 96 Ohio St. 205, 117 N.E. 229, 2310)

D. Has power to fine or imprison for contempt. [3 BL Comm. 24; 3 Steph. Comm. 383; The

Thomas Fletcher, C.C.Ga., 24 F. 481; Ex parte Thistleton, 52 Cal 22.5; Erwin v. U.S., D.C.Ga.,

37 F. 488, 2

L.R.A. 229; Heininger v. Davis, 96 Ohio St. 205, 117 N.E. 229, 231.][Black's Law Dictionary,

4th Ed., 425, 426]

E. Generally possesses a seal. [3 BL Comm. 24; 3 Steph. Comm. 383; The Thomas Fletcher,

C.C.Ga., 24 F. 481; Ex parte Thistleton, 52 Cal 225; Erwin v. U.S., D.C.Ga., 37 F. 488, 2

L.R.A. 229; Heininger v. Davis, 96 Ohio St. 205, 117 N.E. 229, 231.][Black's Law Dictionary,

4th Ed., 425, 426] See also: The Constitution of the State ofNevada, Article 6, § 9.

Article 6, § 9. Municipal courts. Provision shall be made by law prescribing the powers[,]
duties and responsibilities of any Municipal Court that may be established in pursuance of
Section One, of this Article; and also fixing by law the jurisdiction of said Court so as not to
conflict with that of the several courts of Record.




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 24 .... our justices, sheriffs, mayors, and other ministers, which under us have the laws of our land

     to guide, shall allow the said charters pleaded before them in judgement in all their points, that

     is to wit, the Great Charter as the co=on law .... [Confirmatio Cartarum, November 5, 1297"

     "Sources of Our Liberties" Edited by Richard L. Perry, American Bar Foundation.)

 25. Henceforth the writ which is called Praecipe shall not be served on any one for any holding so

     as to cause a free man to lose his court. Magna Carta, Article 34.

 26. Trespass. Any misfeasance or act of one man whereby another is injuriously treated or

     damnified. 3 Bl. Co=. 208 An injury or misfeasance to the person, or rights of another

     person, done with force and violence, either actual or implied in law.'

27. Trespass. In its more limited and ordinary sense, it signifies an injury committed with violence,

     and this violence may be either actual or implied; and the law will imply violence though none

     is actually used .. .'

28. "Inferior courts" are those whose jurisdiction is limited and special and whose proceedings are

     not according to the course of the co=on law." Ex Parte Kearny, 55 Cal. 212; Smith v.

     Andrews, 6 Cal. 652; Criminal courts proceed according to statutory law. Jurisdiction and

     procedure is defined by statute. Likewise, civil courts and admiralty courts proceed according

     to statutory law. Any court proceeding according to statutory law is not a court of record

     (which only proceeds according to co=on law); it is an inferior court.

 29. However, no statutory or constitutional court (whether it be an appellate or supreme court) can

     second guess the judgment of a court of record. "The judgment of a court of record whose


Black's Law Dictionary 2"" Ed. Pg. 1171
Black's Law Dictionary 2"' Ed. Pg. 1171


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   jurisdiction is final, is as conclusive on all the world as the judgment of this court would be. It

   is as conclusive on this court as it is on other courts. It puts an end to inquiry concerning the

   fact, by deciding it." Ex parte Watkins, 3 Pet., at 202-203. [cited by SCHNECKLOTH v.

   BUSTAMONTE, 412 U.S. 218, 255 (1973)]

                                                II.

                    Findings of Fact, Discussion and Conclusion of Law

30. The records show the counterclaimant Hardee Bey filed an action against counterdefendants

   named herein;

31. The inferior court is not permitted to proceed against any people without first proving its

   jurisdiction on the record, whether the officer presiding over said court has been specifically

   name as a defendant or not. Public servants do not have immunity for exceeding their

   jurisdiction, since once the jurisdiction has been exceeded, the public servants becomes merely

   any other individual causing a trespass on one he has not authority over.

32. Reginald B. McClendon, Amber A. Robinson, Patrise Perkins-Hooker, Kaye W. Burwell,

   Ashley Palmer, and Jonathan D. Loegel are foreign agents granted a title of nobility from a

   foreign corporation and assigned a BAR member numbers 154793, 141660, 572358, 775060,

   603514, and 755706 and still proceeds in committing acts of treason against the people of

   Georgia.

33. Reginald B. McClendon, Amber A. Robinson, Patrise Perkins-Hooker, Kaye W. Burwell,

   Ashley Palmer, and Ashley Palmer, and Jonathan Loegel have not registered with the United

   States of America as required by the Foreign Agent Registration Act.




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                                                 ORDER

     34. IT IS HEREBY THE ORDER OF THIS COURT that all defendants motion to dismiss the

        above entitled action are hereby DENIED.

     35. IT IS FURTHER THE ORDER OF THIS COURT THAT any and all defendants and any

         other party aiding said defendants are restrained form any action against the claimant until

        such time as defendants and others aiding said defendants have proven jurisdiction over

        claimant on the record of this court.

    36. IT IS FURTHER THE ORDER OF THIS COURT that any further rogne interference of this

        court by any officer shall be contempt of this court and said perpetrator will be in held in

        contempt without motion and without hearing.

     37. IT IS FURTHER THE ORDER OF THIS COURT that all parties to this action are invited to

        provide as evidence to this court within 20 days why this order is not valid.



Witness the seal of this court this   day of November, 2017.

The Court


By: Hardee Bey
Attornatus Privatus




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                         CERTIFICATE OF SERVICE
I, certify that the true and correct copy of the foregoing document Writ Denying Defendants Motion to
Dismiss and Incorporated Memorandum of Law will be served upon by placing it in a sealed envelope
First Class Mail Postage prepaid in the U.S. at Atlanta, Georgia and address mail to:

City of Atlanta Law Department
55 Trinity Avenue SW Suite 5000
Attention: Reginald B. McClendon, Assistant City Attorney
Atlanta, Georgia 30303

City of Atlanta Law Department
55 Trinity Avenue SW Suite 5000
Attention: Amber A. Robinson, Senior Assistant City Attorney
Atlanta, Georgia 30303

Office of the Fulton County Attorney
141 Pryor St Suite 4038
Attention: Patrice Perkins-Hooker, County Attorney
Atlanta, Georgia 30303

Office of the Fulton County Attorney
141 Pryor St Suite 4038
Attention: Kaye W. Burwell
Atlanta, Georgia 30303

Office of the Fulton County Attorney
141 Pryor St Suite 4038
Attention: Ashley Parker
Atlanta, Georgia 30303

Office of the Fulton County Attorney
141 Pryor St Suite 4038
Attention: Jonathan D. Loegel
Atlanta, Georgia 30303


Dated:    day of November, 2017


                                                                     By:_ _ _ _ _ _ _ _ _ __



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